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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Petitioner,
                                                  File no: 2:06-CR-07-02
v.
                                                  HON. ROBERT HOLMES BELL
GERRY HAROLD FISK,

        Respondent.
                                          /

                          ORDER AND JUDGMENT
                 APPROVING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        NOW THEREFORE, IT IS ORDERED that:

        1.     The Report and Recommendation of the Magistrate Judge (docket #47) is

approved and adopted as the opinion of the Court.

        2.     Defendant's plea of guilty is accepted and defendant is adjudicated guilty of

the charges set forth in Count 6 of the Second Superseding Indictment.

        3.     The written plea agreement is hereby continued under advisement pending

sentencing.


Date:        July 24, 2006                 /s/ Robert Holmes Bell
                                           ROBERT HOLM ES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE
